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 7
     ATTORNEY FOR DEFENDANT
 8
     CHARLES ALEXANDER
 9

10

11

12              IN THE UNITED STATES DISTRICT COURT FOR THE
13
                            EASTERN DISTRICT OF CALIFORNIA
14

15

16

17   UNITED STATES OF AMERICA,      )            CASE NO. 2:12-cr-00221-MCE
                                    )
18
     PLAINTIFF,                     )            STIPULATION AND PROPOSED
19                                  )            ORDER TO CONTINUE THE
                    v.              )            STATUS CONFERENCE TO
20
                                    )            THURSDAY
21   CHARLES ALEXANDER, et al.,     )            JULY 31, 2014
22                                  )
                                    )
23                                  )
24   DEFENDANTS.                    )
                                    )
25
     ______________________________ )
26

27
                       The parties to this litigation, the United States of America,
28   represented by Assistant United States Attorney, Paul A. Hemesath, and for the


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 1   defendants: Michael B. Bigelow, representing Jusstanene King and James R.
 2
     Greiner, representing Charles Alexander, , hereby agree and stipulate to the
 3

 4   following1:
 5
           1. By this Stipulation, the defendants collectively now move to continue the
 6

 7   status conference until Thursday, July 31, 2014 and to exclude time pursuant to the
 8
     Speedy Trial Act between Thursday, May 1, 2014 to and including Thursday, July
 9

10
     31, 2014, under Local Code T-4 (time for adequate attorney preparation), which

11   corresponds to Title 18 section 3161(h)(7)(A) and (h)(7)(b)(iv). The government
12
     has produced the following discovery in the case and does not oppose this request.
13

14   The parties agree and stipulate to the following and request the Court to find the
15
     following:
16

17                       a. The government has produced discovery which consists of
18
     reports and statements and investigation by the government;
19
                         b. Counsel for all defendants need additional time to review all
20

21   of the discovery in light of the new proposed Advisory Sentencing Guidelines
22
     which may take effect later on this calendar year, review all the discovery with
23

24   their respective clients as well as discuss the new proposed Advisory Sentencing
25

26
           1
               The government requested that the format presented in this
27
     stipulation be used by the parties.
28




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 1   Guidelines which may take effect later on this calendar year , to conduct
 2
     investigation into this case in light of the possible new Advisory Sentencing
 3

 4   Guidelines, do legal research into the potential ramifications of the new proposed
 5
     Advisory Sentencing Guidelines, which includes legal research, in this case, and to
 6

 7   otherwise do review and investigation, using due diligence, that this case requires;
 8
                        c. Counsel for all defendants represent that the failure to grant
 9

10
     the above requested continuance would deny counsel for each individual defendant

11   the reasonable time necessary for effective preparation, taking into account the
12
     exercise of due diligence.
13

14                      d. The government and the defense will also continue its
15
     discussions in resolving this case short of trial which will require the government
16

17   to produce to the defense a proposed written plea agreement which defense counsel
18
     will need additional time to review, review with their respective clients, and to
19
     review in light of both the now existing Advisory Sentencing Guidelines and the
20

21   potential new Advisory Sentencing Guidelines.
22
                        e. The government, based on all of the above, does not object to
23

24   the continuance.
25
                        f. Based on the above stated findings, the ends of justice served
26

27
     by continuing the case as requested outweigh the interest of the public and all the
28   defendants in a trial within the original date prescribed by the Speedy Trial Act.


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 1                       g. For the purpose of computing the time under the Speedy
 2
     Trial Act, Title 18 U.S.C. section 3161, et seq., within which trial must commence,
 3

 4   the time period from Thursday, May 1, 2014 to Thursday, July 31, 2014, inclusive,
 5
     is deemed excludable pursuant to Title 18 U.S.C. section 3161(h)(7)(A) and
 6

 7   (h)(7)(b)(iv), and (iv) corresponding to local code T-4, because it results from a
 8
     continuance granted by the Court at defendants’ request on the basis of the Court’s
 9

10
     finding that the ends of justice served by taking such action outweigh the best

11   interest of the public and the defendants in a speedy trial.
12
           4. Nothing in this stipulation and order shall preclude a finding that other
13

14   provisions of the Speedy Trial Act dictate that additional time periods are
15
     excludable from the period within which a trial must commence.
16

17         IT IS SO STIPULATED.
18
           Each attorney has granted James R. Greiner full authority to sign for each
19
     individual attorney.
20

21         Respectfully submitted:
22
                               BENJAMIN B. WAGNER
23
                               UNITED STATES ATTORNEY
24
     DATED: 4-28-14            /s/ Paul A. Hemesath
25
                               ____________________________________
26                             Paul A. Hemesath
27
                               ASSISTANT UNITED STATES ATTORNEY
                               ATTORNEY FOR THE PLAINTIFF
28




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 1   DATED: 4-28-14 /s/ Michael B. Bigelow
 2
                           _______________________________
 3
                           Michael B. Bigelow
 4                         Attorney for Defendant
 5
                           Jusstanene King

 6   DATED: 12-6-13        /s/ James R. Greiner
 7
                           ______________________________________
 8
                           James R. Greiner
 9                         Attorney for Defendant
10
                           Charles Alexander

11

12
                                         ORDER
13

14
          IT IS SO FOUND AND ORDERED.
15

16   Dated: May 2, 2014
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                                   [Pleading Title] - 5
